RULES AND REGULATIONS

A, GEN L

1. The sidewalks, entrances, and patios, and like portions cf the common elements
shall not be obstructed nor used for any purpose other than for ingress and egress to
and from the Condominium Property; nor shall any carts, bicycles, carriages, chairs,
tables or any other objects be stored therein, except in patio areas designated for such
purposes.

2. No articies other than patio-type furniture shall be placed in the patio areas or on
the balconies.

3, The personal property of Unit Owners and occupants must be stored inside their
respective units. No storage Is allowed In the common area.

4. Nothing shall be hung, shaken or thrown from doors, windows, balconies or walks of
the Condominium Property.

5, _ All garbage, refuse, trash or rubbish shall be deposited totally within the dumpster.
Ail garbage must be in tightly sealed plastic bags and ail boxes broken down. The
requirements from time to time of the company providing trash removal service for
disposal or collection shall be complied with by all residents.

5. Employees of the Association are not to be performing personal errands for any Unit
Owner or occupant. Management shall be solely responsible for directing and
supervising employees of the Association.

7. No Unit Owner or occupant shall make or permit any disturbing noises by himself or
his family, servants, employees, agents, visitors or licensees, or pets and should not
permit any conduct by such persons or pets that will interfere with the rights, comforts
or conveniences of other Unit Owners or Occupants.

8, No Unit Owner or occupant shail play or permit to be played any musical instrument,
nor operate or permit to be operated a phonograph, television, radio or sound amplifier
in his unit in such a manner as to disturb or annoy other residents.

3, Toilets and other water apparatus In. the building shall not be used for any purposes
ather than those for which they are constructed.

10. All Residents must abide by ail Housing codes and regulations. The number of
residents per bedroom is limited to two (2).

A. PARKING

1. There are no assigned parking spaces.

2. Commercial vehicles, excess of 34 ton, or any type of recreational vehicle or equipment
Is not allowed to be parked on the property except for short periods of time for loading
and unloading. .

3, No work or repair of vehicles will be allowed on the Condominium Property except

emergency service. Car washing is not allowed on the grass. No vehicle belonging to a
resident or to a member of the family or guest, shall be parked in such a manner as to
impede or prevent ready access to another resident’s assigned parking space. The
residents, their employees, servants, agents, visitors, licensees and the residents family
will obey the parking regulations posted at the private streets, parking areas, and drives
and any other regulations of any jurisdictional authority, and the Board of Directors of
the Association now existing or promulgated in the future for the safety, comfort and
convenience of the members, Parking of any vehicle on common or limited common
areas, such as sidewalks, patios entrance ways, recreational areas, grass or mulched
areas, is strictly prohibited.

No vehicle which cannot operate on it’s own power or in violation of any existing law,
ordinance, or regulation of any jurisdictional municipal authority, or the Board of
Directors shall remain within the Condominium complex for more than forty-eight (48)
hours. Residents shall not cause or permit the blowing of nay horn from any vehicle of
which his guests or family shail be occupants, approaching or upon any of the driveways
or parking areas serving the condominium property. Parking and/or driving of any
vehicle is prohibited on the grass, waik or curbs at any time and the vehicle will be
towed at the owners expense without prior notice.

B, PETS

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All pets must be registered with the Association Management Office on their prescribed
forms, including a description and photo of your pet. Unregistered pets will be
considered trespassers and will be removed from the Property.

One (1) pet (dog or cat only) is allowed per unit which shall not exceed twenty-five (25)
pounds.

Pets (Including cats) must be close-leashed at all times outside the unit.

Pets are not to be kept in patio area or on the balcony when occupant is not present
and are not to be housed on the patio or balcony. Pets are never permitted in the

recreation area.
Dog walk areas have been provided in the following areas:

1, The wooded area at the end of Cherokee Court and Sharon Drive.

2. The two grassy areas fronting North Lake between the parking lot and
the street.

3, The grassy area at the corner of Cherokee Court and Sharon Drive.

Please do not allow your pet to use any other area as a toilet facility. Pet Owners must
pick up solid wastes of thelr pets and dispose of such waster in trash receptacles Jocatec
appropriately on Cherokee court, Debra Court, Lestie Court and/or Northlake Bivd.

Unit Owners have sole responsiblilty and liability for pets residing in their units whether
it is their pets or their renters. The pet owner shall indemnify and hold the Association
harmless from any action arising from having an animal on the Property.

Penalties will be incurred for each offense. A third offense wil! be cause for the to be
removed from the property.

C, CHILDREN AND GUESTS

1.

Children (under the age of eighteen years) are the direct responsibility of their parents
or legal guardians, including full supervision of them while within the Condominium
Property and including full compliance by them of these rules and Regulations.

Loud noises will not be tolerated. All children under eighteen (18) years of age must be
accompanied by a responsible adult when entering and/or utilizing the recreational
facilities,

Children shall not be permitted to play on the walks, drive, parking lots or landscaped
area or any other area of the Condominium except those authorized by the Board of
Directors.

Owners shall be personally responsible for any damage to the Condominium Property
caused by their children or guests as well as themselves.
D. RECREATION AREAS
1, Club House

a)

b)

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Use of or presence in the Club House is restricted to persons over eighteen (13)
years of age. Person under that age must be accompanied by a responsible
adult eighteen years or older. Damages caused by the misuse of the facilities by
residents, their quests or children shall be charges to the unit owner.

The Club House fs not available for private parties at this time. The Association
reserves the right to use the Club House for Association Meetings and other

functions.
Improper use of the Club House shall result in penalties as determined by the

Board of Directors,

2. POOL AND POOL AREA

a) Use of the pool is permitted from 9:00 am until 10:00 pm.

b)

Anyone under the age of 18 years must be accompanied in the pool by an adult
over the age of 18 years.

No infants or children under three (3) years of age are permitted in the poal.
Any child in the pool must be toilet trained.

Nude swimming or sunbathing is not allowed.

The Association does not provide a lifeguard in the pool or pool area. Each Unit
Owner or resident is solely responsible for the safety of himself/herself, his/her
respective family and guests using the swimming pooi.

Chairs, lounges, tables and umbrellas are not provided by the Association.
Owners are not to ieave any furniture in the pool area as it will be removed by
the Association.

No running is permitted in the pool area. No diving or jumping in to the
swimming pool is permitted. No running, ball playing or frisbee playing is
allowed in or around the pool area.

No foreign objects (floats, toys, inflatables) are to be thrown into or used in the
pool.

Glass of any nature is not allowed on the pool deck at any time. This offense
will be cause for ejection from the pool area and any penalties as determined by
the Board of Directors.

No food is allowed on the peal deck at any time except for approved Association
activities.

Every swimmer must shower before entering the pool to remove oils which ciog
the pool filtering system.

Use of radios are to be by earphones only when others are using the pool area.
Any problems with the pool or club house are to be reported to Management.
Anyone using the pool area must be able to identify themselves as residents or
they will be regarded as trespassers and removed from the property. Please

take proper identification with you te the pool.
All trash and belongings are to be removed by the users.

3. Tennis Courts

a)
b)

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The tennis courts are for Residents and their guests only, A resident must
always be in attendance and be able to identify themselves as residents.

Play is limited to one hour or one set whichever comes first when players are
waiting.

All trash and befongings are to be removed by players.
A. SELLi D LEAS! N

t. All leasing of units shall be subject to the prior written approval of the Association
and the Association may deny permission to iease any unit on any reasonable grounds
the Association may find as provided for in Article VII of the Declaration,

2. No portion of the Unit (other than an entire unit) may be rented. All leases shall
be in writing, be approved by the Association and shall provide (or be automatically
deemed to provide absent an express statement) that the Association shall have the
right to terminate the lease upon default by the tenant in observing any of the
provisions of the Declaration, Articles of Incorporation and Bylaws of the Association,
applicable rules and regulations and state statutes or other applicable provisions of
any agreement, document or instrument governing the Condominium.

3. No lease shall be approved for a term less than six (6) months and no more than
two (2) rentals a year by an owner,
4. The Unit Owner Is jointly and severally liable to the Association for the acts and

amissions of his tenant(s) which constitute a violation of, or noncompliance with, the
provision of the Declaration and of any and all Rules and Regulations of the

Association.

5. The Unit Owner shall supply all information necessary to facilitate a “Certificate of
Approval” which Is required prior to move in.

6. A non-refundable application fee will be required for ali rental applications as

determined by the Board

E. ARCHITECTURAL AND EXTERIOR CHANGES

1. Architectural Control and Committee Authority

@) No modification, decoration, change or other improvement of any kind shall be
commenced, erected or maintained upon the common property or exterior of the
exterior of the buildings or structural changes inside of the units without prior
written approval by the Board of Directors or by the Architectural Review
Committee composed of three (3) or more owners appointed by the Board.

b) Approval shall not be given until plans and specifications showing the nature,
kind, materials and location of the same shall have been submitted to the Board
or Architectural Review Committee in sufficient detail to assure its structural and
maintenance soundness and its compliance with the architectural scheme and
harmony in relation to the surrounding features of the complex.

c) The Board or Architectural Review Committee shall approve or disapprove the
request within thirty-one (31) days of receipt of all requested plans and
specifications as outlined above by the person designated by the Association to
receive such requests, or in the event of no designation, the President. In the
event the Board or its designated committee fails to approve or disapprove said
request in writing within thirty-one (31) days after said plans or specifications
have been received by the designated representative of the Association, approval
will be automatically given and the Article shall be deemed to have been fully
complied with.

d) In the event that no notice of default of compliance of this Article is given or
legal action to enjoin any modification, decoratlon, change or improvement
which can be reasonably identified has been commenced within one year of the
completion thereof, approval will be automatically given and this Article shall be

deemed to have been fully complied with.
e) The Unit Owner assumes full responsibility to maintain and care for the approved
change/addition unless specifically accepted by the Association in the Approvai
Document. The Association also holds the right to request the charge to be
negated If it does not maintain its architectural integrity.

f) If the Association prevails In any action brought pursuant to this Article, it shall
be entitled to recover from the other party reasonable attorney's fees and costs
incurred In connection with such action, and a personal obligation to the owner.

2 Architectural Regulations

a) No radio, CB, television or other antennae shall be installed on common property
(roofs, siding, etc.).All radio, CB, television and other antennae must be on a
free standing pole.

b) Owners or Occupants shall not place identification or other signs in any place on
the property, except the mailbox as provided for the use of their unit.

c} No “For Sale”, “For Rent”, or “For Lease” signs or other windew displays or
advertising shall be placed on any part of the property by any person unless
specifically approved by the Association.

d) All windows must have window treatments such as drapes or venetian blinds.

e) Notice to Owners or individuals may not be posted anywhere on the property.
Nothing may be taped, nailed or fixed in any way to the interior or exterior
surfaces of the building without permission of the Board.

f) No air conditioning units may be Installed in any window. No unit shall have nay
aluminum fail placed in any window or glass door or any IHG reflecting
substance placed on any glass, unless approved in advance by the Board af
Directors in writing. No unsightly materials may be placed or hung on any
window or glass door or be visible through such window or glass dacr.

COMPLIANCE

Every Owner or Occupant shall comply with these Rules and Regulations as set forth herein.
Any and all rules and regulations which from time to time may be adopted, and the
provisions of the Declaration, Bylaws and Articles of Incorporation of the Association, as
amended from time to time are also to be complied with. Failure of an Owner or Occupant
to so comply shall be grounds for action which may include, without limitation, an action to
recover sums due for damages, injunctive relief, or any combination. In addition to all
other remedies, it is the sole discretion of the Board of Directors of the Association, to
establish penalties upon an Owner for the fallure of any Owner, his family, guests, invitee,
lessees or employees, to comply with any covenant, restriction, rule or regulation herein or
in the Declaration, Articles of Incorporation or Bylaws, provided that the following

procedures are adhered to:

1. HOLD HARMLESS

By accepting title to a unit, or by occupancy of a unit, each Owner and occupant agrees
to hold the Association harmless and Indemnify it against any liability, loss or damages
incurred by the Association as a result of any violations by the foregoing persons.
2. APPROVALS AND DISAPPROVALS

Consideration of a request for an approval as required by the documents and the Rules
and Regulations, shall be given upon completion of the following steps. In the event
these steps are not completed, the request is considered denied.

a) A written request Is recelved by the Board through the Management Office.
b} The Board's approval or disapproval is noted in the minutes of the next scheduled

Board of Directors meeting.
c} Written notification of approval or disapproval is forwarded to the requesting

member(s) through the Management Office, within (7) days of the Board decision.

4._ COMPLAINT AND ENFORCEMENT PROCEDURES

A. Complaint Procedure

Since voluntary compliance with the Association’s rules is not always obtained, it
has occasionally been necessary for the Board to handle these situations, The
policy outlined below is an attempt to formalize the handling of various
compialnts addressed ta the Association.

Members of the Board serve without compensation, and they are under no
special obligation to enforce regulations or arbitrate disputes between neighbors,
except In cases where their authority is required to obtain compliance with the
Association’s documents and/or Rules and Regulations.

Questions regarding the Association’s adopted rules and policies should be
forwarded in writing to the Board of Directors through Management. They shall
be considered by the Board of Directors, upon review by the Rules and
Regulations Committee (if any), and responded to as necessary.

Complaints regarding rule violatians by Owner/Occupants must be submitted to
the Board of Directors through the Management Office. It si desired that the
complainants discuss his/her complaint with the offending party and indicate
what response he received when making the complaint. Anonymous complaints
will not be accepted. Complaints will be kept confidential by the Board of

Directors and Management as far as practical.

6. Action on Complaints

All complaints received will be reviewed by the Board, or Management as
directed by the Board, with a resolution for action to be taken on the complaint
at its next regularly scheduled Board meeting, or as determined by the Hearing

section below.
C. Hearing Procedure

Any violation of any action of the Rules and Regulations may be subject to the
following “Hearing” procedure If so determined by the Board of Directors:
1, Complaint

On receipt of a written complaint detailing the complaint, date and
place of its occurrence and confirmation of the complaint by the
Board for its representative, the offending Owner will be notified of
the complaint and the Board if Directors will be informed at the next

meeting.
I. Hearing at a Board Meetin
The alleged offending party may be requested to present his/her case

and hear the charges implied at a meeting of the Board if Directors.

III. Determination of Action

The Board will determine the appropriate action required to enforce
the Association's documents and Rules and Regulations of the

Association including penalties.

5. BOARD’S AUTHORITY

Articles of Incorporation and the Declaration empowers the Board of Directors as follows:

A. Authority ta Regulate

The Board of Directors has fulf authority to review these Regulations and
changes, alter, grant walver or delete any portion or section as it sees fit to
further the health, welfare and safety of the Owner and occupants.

B. Authority to Enforce

Any Owner or occupant who violates the Board of Directors’ directives and
enforcement decisions shall be subject to all legal remedies available to the
Association, its Board of Directors, and ail other Residents as provided for in the

Declaration and Bylaws.

6, MEDIATION AND/OR ARBITRATION

The Board encourages the parties in a dispute to proceed with mediation or arbitration, and
to equally bear the expense of such mediation or arbitration.

7. NOTICE TO MEMBER OF RULES CHANGES

The Board of Directors will provide reasonable notice of any changes in these Rules and
Regulations to the members of the Association prior to their effective date.

These Rules and Regulations shall be cumulative with the covenants,
conditions and restrictions set forth in the Declaration of
Condominium, provided that the provisions of the Declaration shail
prevail over these Rules and Regulations in the event of a conflict. All
of these rules and regulations shall apply to all Owners and occupants
even if not specificaliy so stated in portions thereof.
